             Case 1:21-cr-00537-TJK Document 60 Filed 11/08/21 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                )
 UNITED STATES OF AMERICA,                      )
                                                )        Criminal No. 1:21-cr-00537-TJK
                      v.                        )
                                                )
 RYAN SAMSEL,                                   )
                                                )
                  Defendant.                    )
                                                )

                                   JOINT STATUS REPORT

       The United States of America, jointly with the undersigned counsel for Defendant Ryan

Samsel, pursuant to the Court’s October 29, 2021, Minute Order, provides this status report

concerning Mr. Samsel’s request for medical records.

       The Government continues to agree that Mr. Samsel should have his medical records.

Since this Court’s October 28, 2021, Status Conference, Defense Counsel have been provided

107 pages of records from the Northern Neck Regional Jail. These records contain some medical

information, but lack records related to Mr. Samsel’s treatment by third-party providers,

including after the incident that occurred at Northern Neck on October 12, 2021. And Defense

Counsel have been provided with no additional medical records since October 28, 2021, despite

Mr. Samsel’s having received treatment both at Northern Neck as well as by third-party

providers.

       In addition, since October 28, 2021, Defense Counsel has been provided no additional

records from any other facility to have housed Mr. Samsel since his arrest, including: The DC

Correctional Treatment Facility, the Rappahannock Regional Jail, and/or the Central Virginia

Regional Jail. Again of note, Defense Counsel have not been provided with records from a

number of third-party providers following treatment at those facilities.
           Case 1:21-cr-00537-TJK Document 60 Filed 11/08/21 Page 2 of 5




       In addition, since Mr. Samsel has been at NNRJ, as well as previously in CVRJ (see ECF

50 at 2), he has been continuously held in 24/7 hour lockdown since 09/10/21.

       The defense has compiled a list of records that have not been provided. That list is as

follows:

   •   03/21/21 records related to the alleged assault and any follow up records, including any
       treatment Mr. Samsel received from third-party providers, EMT records, and/or incident
       reports and related records;

   •   07/15/21 CVRJ records provide a medical log note, in relevant part “lumps in chest need
       glandectomy… Records received.” (page 34 of 42 pages) To date, those records have
       not been provided;

   •   07/27/21 CVRJ records provide a medical log note “was seen at RRJ and referred to
       vascular surgery…” (page 38 of 42 pages). To date, RRJ records have not been
       provided;

   •   08/19/21 CVRJ records reference Mr. Samsel having had an electromyography. To date,
       any records evidencing the same have not been provided;

   •   09/15/21 records related to the incident with correctional officers and any follow up
       records, including any treatment Mr. Samsel received from third-party providers, EMT
       records, and/or incident reports and related records;

           •   There is a log note dated 09/22/21 that provides: “Inmate returned from the
               hospital after being sent for a synocopal episode. Discharge notes a likely
               concussion from a previous injury. EKG and Glucose are normal. CT Head
               shows no [fracture] or bleeding in the brain. Copy of CT scan attached…” To
               date, the records referenced in this note (or any other records related to this
               treatment) have not been provided;

   •   09/23/21 CVRJ records reference Mr. Samsel having had an MRI. To date any records
       evidencing the same have not been provided;

   •   09/23/21 CVRJ records reference a transport for a Mammogram at the Breast Care
       Center and a comment regarding Bilateral gynecomastia as benign. These records appear
       to be provided in part;

   •   09/28/21 CVRJ records reference a transport for Mr. Samsel to receive a Physical
       Therapy Consult at Spectrum Physical Therapy. To date, no physical therapy records
       have been provided and Defense Counsel understand that Mr. Samsel was not permitted
       to retain documentation of the recommended physical therapy exercises;

   •   08/05/21 CVRJ records reference Mr. Samsel having undergone a Venogram. To date
       any records evidencing the same have not been provivded;


                                                2
      Case 1:21-cr-00537-TJK Document 60 Filed 11/08/21 Page 3 of 5




•   10/12/21 records related to the alleged assault and any follow up records, including any
    treatment Mr. Samsel received from third-party providers, EMT records, and/or incident
    reports and related records;

       •   Of note, there is a 10/13/21 Nursing Progress Log Note, which provies: “dried
           blood on face,” “from the right ear down the jawline,”… “two hemotomas on/ the
           left side of the inmate’s face around the eye are visible”… “heavy swelling with
           bruising across the back of hand and wrist,…” “I called Dr. Dudley on the
           incident, giving him all the information stated above. He stated, Transportation
           can take him, EMS is not needed for this incident. … to take him to VCU
           Tappahannock Emergency Department;”

       •   However, 10/13/21 Discharge Records from VCU Tappahannock are only
           provided in limited part, which reflect: “Concussion/ head injury” and
           “nondisplaced fracture through the posterior aspect of the superior left orbital wall
           and a right inferior orbital blowout fracture appears chronic” and “clinical
           indication: injury or trauma; sprain or strain and swelling (edema); wrist; Right;
           Injury details; Assaulted.” These records reflect only a summary of tests,
           including a CT of the Head, Facial Bones and Cervical Spine, but, to date,
           complete records for this treatment have not been provided; and

•   11/04/21 records related to an EEG Mr. Samsel received have yet to be provided.

                            [SIGNATURE ON NEXT PAGE]




                                             3
         Case 1:21-cr-00537-TJK Document 60 Filed 11/08/21 Page 4 of 5




Dated: November 8, 2021                      Respectfully submitted,


         /s/ April Nicole Russo                     /s/ Stanley E. Woodward, Jr.
April Nicole Russo (PA 313475)               Stanley E. Woodward, Jr. (DC 997320)
Assistant United States Attorney             BRAND WOODWARD LAW, LP
555 Fourth Street, NW                        1808 Park Road NW
Washington, DC 20530                         Washington, DC 20010
(202) 252-1717                               202-996-7447 (telephone)
april.russo@usdoj.gov                        202-996-0113 (facsimile)
                                             Stanley@BrandWoodwardLaw.com

         /s/ Danielle Rosborough                     /s/ Juli Z. Haller_____________________
Danielle Rosborough (DC 1016234)             Juli Z. Haller, (DC 466921)
Trial Attorney, National Security Division   The Law Offices of Julia Haller
United States Department of Justice          601 Pennsylvania Avenue, N.W., Suite 900
950 Pennsylvania Avenue, NW                  Washington, DC 20004
Washington, DC 20530                         Telephone: (202) 729-2201
202-514-0073                                 HallerJulia@outlook.com
Danielle.Rosborough@usdoj.gov

Counsel for the United States of America     Counsel for Defendant Ryan Samsel




                                              4
          Case 1:21-cr-00537-TJK Document 60 Filed 11/08/21 Page 5 of 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )        Criminal No. 1:21-cr-00537-TJK
                        v.                         )
                                                   )
 RYAN SAMSEL,                                      )
                                                   )
                  Defendant.                       )
                                                   )

                                  CERTIFICATE OF SERVICE

        On November 8, 2021, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                       /s/ Stanley E. Woodward, Jr.
                                                Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                                BRAND WOODWARD LAW, LP
                                                1808 Park Road NW
                                                Washington, DC 20010
                                                202-996-7447 (telephone)
                                                202-996-0113 (facsimile)
                                                Stanley@BrandWoodwardLaw.com

                                                Counsel for Defendant Ryan Samsel
